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                                      ORDERED.
 Dated: September 12, 2023




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION
                                www.flmb.uscourts.gov

In re:
                                                     Case No. 3:23-bk-00938-JAB
Franklin Southern Manufacturing, LLC,                Chapter 11
                                                     Subchapter V
         Debtor.
                                             /

      AGREED ORDER GRANTING 20-20 SOLUTIONS LLC’S MOTION FOR
   ALLOWANCE OF ADMINISTRATIVE EXPENSE AND TO COMPEL PAYMENT

         THIS CAUSE came before the Court upon the Motion for Allowance of Administrative

Expense and to Compel Payment (the “Motion”) [ECF No. 95] filed by 20-20 Solutions LLC d/b/a

20/20 Metals (“20/20 Metals”), a creditor in the above-captioned case, for entry of an order

granting 20/20 Metals an administrative expense claim pursuant to section 503(b)(1) of Title 11 of

the United States Code in the amount of $41,229.30 and ordering and directing the Debtor to

immediately pay the post-petition amounts past due to 20/20 Metals, and the Court, having

reviewed the Motion, finding good cause, noting the agreement of the Debtor to the entry of this




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Order, and being otherwise duly advised in the premises, it is hereby ORDERED and

ADJUDGED that:

       1.       The Motion is GRANTED.

       2.       20/20 Metals is entitled to an administrative expense claim in the amount of

$41,229.30.

       3.       The Debtor is required to pay $41,229.30 to 20/20 Metals on or before September

20, 2023.

Attorney Vincent F. Alexander is directed to serve a copy of this order on interested parties and
file a certificate of service within 3 days of entry of this order.




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